Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 1 of 11
Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 2 of 11
Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 3 of 11
Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 4 of 11




     /s/ Eric M. English                         05.31.2021




                                        eenglish@porterhedges.com
Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 5 of 11
Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 6 of 11
Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 7 of 11
Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 8 of 11
                          Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 9 of 11


      Fill in this information to identify the case:

      Debtor name ALH Properties No. Fourteen, LP
                  __________________________________________________________________

      United States Bankruptcy Court for the: SOUTHERN                              TX
                                               ______________________ District of _________

      Case number (If known):     _________________________
                                                                               (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number, and    Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      email address of creditor      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                        debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for         Unsecured
                                                                                                                   partially          value of              claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1     Hilton Hotels Corporation                                                  Trade                                                                  $ 140,639.01
      4649 Paysphere Circle
      Chicago, IL 60674

     ALH Hotel Management, LLC
2                                                                                                                                                        $ 113,653.17
     2901 Wilcrest Drive                                                           Trade
     Suite 120
     Houston, TX 77042
     Brookfield District Energy USA, LLC                                                                                                                 $ 28,096.25
3
     P.O. Box 207851
                                                                                   Trade
     Dallas, TX 75320


4     Houston First Corporation
      701 Avenida De Las Americas                                                                                                                       $     27,097.99
                                                                                   Trade
      Ste 200
      Houston, TX 77010

5     Popp Hutcheson PLLC
      1301 S. Mopac                                                                                                                                           26,314.55
                                                                                   Trade                                                                 $
      Suite 430
      Austin, TX 78746

6     Winston Financial Group, Inc.
      10430-28 Pioneer Blvd
                                                                                   Trade                                                                $     25,327.44
      Santa Fe Spring, CA 90670


7     Sovereign Services Of Houston, Inc
      P.O. Box 460105                                                                                                                                         25,155.10
                                                                                   Trade                                                                 $
      Hoston, TX 77056


8     Sysco Food Svcs Of Houston
      10710 Greens Crossing Blvd
      Houston, TX 77038-2716
                                                                                  Trade                                                                  $ 21,730.22




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
                            Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 10 of 11


    Debtor         ALH Properties No. Fourteen, LP
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




     Name of creditor and complete             Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code       email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional           unliquidated,   total claim amount and deduction for value of
                                                                             services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff

9      Hearsay Discovery Green, LLC
       P.O. Box 301103                                                                                                                                     $ 14,389.65
       Houston, TX 77230                                                         Trade


10     Prime Facility Group                                                                                                                               $ 13,066.30
       P.O. Box 270568                                                           Trade
       Houston, TX 77277


11     Vistar
       P.O. Box 951080                                                                                                                                    $ 7,815.96
       Dallas, TX 75395-1080                                                     Trade


12     Imperial Linen, Inc
       P.O. Box 1909                                                                                                                                      $ 6,893.81
                                                                                 Trade
       Stafford, TX 77497-1909


13    Greater Houston Convention & Vistors
      Bureau
                                                                                  Trade                                                                  $ 5,240.00
      701 Avenida De Las Americas, Suite 200
      Houston, TX 77010

14    Guest Supply
      P.O. Box 6771                                                                                                                                      $ 4,571.29
      Somerset, NJ 08875                                                          Trade


15     City Of Houston Water Department
                                                                                                                                                         $ 4,099.56
       P.O. Box 1560
       Houston, TX 777251                                                         Trade


16     Firetron, Inc.
       P.O. Box 1604                                                                                                                                      $ 3,721.63
                                                                                  Trade
       Stafford, TX 77497


17     Sternenberg & Krohn, LLC
       5612 Rampart St
       Houston, TX 77081                                                          Trade                                                                   $ 3,409.88


18     Sesac, LLC
       P.O. Box 900013                                                            Trade
       Raleigh, NC 27675-9013                                                                                                                             $ 3,225.88


19     Patriot Security, EOC
       P.O. Box 1876                                                              Trade                                                                   $   2,302.79
       Nederland, TX 77627


20      Gerardo De La Garza Johnson
        1515 Dallas St                                                                                                                                    $    2,189.24
        Houston, TX 77010                                                         Trade




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 2
                         Case 21-31797 Document 1 Filed in TXSB on 05/31/21 Page 11 of 11




 Fill in this information to identify the case:

 Debtor name         ALH Properties No. Fourteen, LP

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         05.31.2021                               X /s/ Nick Massad, Jr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       Nick Massad, Jr.
                                                                       Printed name

                                                                       President, CBD Hospitality, Inc., General Partner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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